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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,              )
                                        )
          Plaintiff,                    )
                                        )          Case No.
          v.                            )
                                        )
 FAVI CAHAN,                            )
                                        )
          Defendant.                    )
 _______________________________________)

                                        COMPLAINT

       Plaintiff, the United States of America, at the request and with the authorization

of a delegate of the Secretary of the Treasury, and at the direction of the Attorney

General of the United States, brings this action to collect the penalties assessed under 31

U.S.C. § 5321(a)(5) against Defendant Favi Cahan for his willful failure to report his

interest in a foreign financial account from 2005 through 2008. In support of this action,

the United States alleges as follows:
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                                 Jurisdiction and Venue

      1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1345, and 1355.

      2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(1) and

1395(a).

                                          Parties

      3.      Plaintiff is the United States of America.

      4.      Defendant Favi Cahan resides at 2211 Ponybrook Way, Toms River, New

Jersey.

                                 Regulatory Background

      5.      All citizens and residents of the United States who have a financial

interest in, or signature or other authority over, foreign financial accounts with an

aggregate maximum value of greater than $10,000 at some point during the calendar

year are required to file an annual report disclosing the existence of each account. 31

U.S.C. § 5314; 31 C.F.R. § 1010.350; 31 C.F.R. § 1010.306.

      6.      For the 2005 through 2008 years, the annual report, known as a Report of

Foreign Bank and Financial Accounts (“FBAR”) for a calendar year was due no later

than June 30 of following the calendar year. 31 C.F.R. § 1010.306(c).

      7.      Schedule B is an attachment to the individual federal income tax return

(Form 1040) that is used for reporting, among other things, interest and dividend

income, as well as any financial interest in or signature or other authority over financial

accounts located in foreign countries. For the 2005 through 2008 years, Schedule B

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referred to the FBAR filing requirement and alerted the taxpayer that if he or she had an

interest in or signature or other authority over a financial account located in a foreign

country the taxpayer should file an FBAR, referred to as Form TD F 90-22.1.

        Favi Cahan’s Failure to Report His Interest in a Foreign Financial Account

        8.      In or around 1990, Favi Cahan obtained a green card and became a

permanent resident of the United States. From 2005-2008, Favi was a permanent

resident of the United States. Favi obtained United States citizenship in or around May

2015.

        9.      While traveling to Switzerland in 1997, Favi opened a numbered account

at UBS with an account number ending in x8757 (the Swiss UBS Account).

        10.     The balance of the Swiss UBS account as of December 31, 1997 was about

$2.1 million.

        11.     At the time he opened the Swiss UBS account, Favi granted a power of

attorney to his brother Jehuda Cahan and a power of attorney for the management of

assets for external asset managers to Felix Kramer.

        12.     In the account opening documents for the Swiss UBS account, Favi

indicated that all correspondence was to be sent to Kramer at Vermogensverwaltungen,

Bettenen 3, 8706 Meilen, Postfach 526. He also executed a separate document directing

mailing of correspondence to Kramer.

        13.     At the time he opened the Swiss UBS account, Favi executed a verification

of the beneficial owner’s identify identifying himself as the beneficial owner of the

assets deposited with the bank.

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      14.    On October 10, 2001, Favi traveled to Zurich, Switzerland where he

executed a document with respect to the Swiss UBS account directing UBS to neither

acquire US securities nor to hold them.

      15.    On August 18, 2003, UBS issued a letter to Favi as to the Swiss UBS

account that, starting January 1, 2004, UBS “will only be able to execute outgoing cross-

border payment order from your numbered account if the name of the account holder is

indicated on the payment order.”

      16.    On December 12, 2003, Favi traveled to Zurich, Switzerland and executed

with respect to the Swiss UBS account a “Basic document for Account/Custody

Account.” He again directed that all correspondence be sent to Kramer of Chartvalor

AG in Zurich He also executed a general power of attorney in favor of his brother

Jehuda and a power of attorney for the management of assets for financial

intermediaries in favor of Chartvalor AG.

      17.    From 2005 through 2008, Favi had an interest, signatory authority, or

other authority over the Swiss UBS Account.

      18.    From 2005 through 2008, the total aggregate balance in the Swiss UBS

Account was over $10,000.

      19.    From 2005-2008, Favi directed 19 transfers out of the Swiss UBS account.

The balance in the Swiss UBS Account started at about $1.9 million at the beginning of

2005 and decreased down to about $1 million by the end of 2008.

      20.    Favi would periodically contact Kramer to check on the Swiss UBS

account holdings and investments.

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      21.     On March 26, 2008, Favi signed a Telefax-Agreement in Brussels

permitting UBS to communicate with him as to the Swiss UBS account via facsimile.

      22.     In July 2008, UBS publicly announced that it would no longer provide

cross-border services to U.S. domiciled private clients.

      23.     In 2008, Favi opened another account in his name in Switzerland at Neue

Privat Bank AG.

      24.     On December 10, 2008, Favi executed instructions to transfer all the assets

from the Swiss UBS Account to the Neue Privat Bank account.

      25.     Sometime before Favi opened an account with Neue Privat Bank and

instructed UBS to transfer the assets to the new account, he learned from the news that

he could be in trouble for having signature authority over a UBS account. Around the

same time, Kramer notified Favi that he could no longer maintain an account at UBS.

Kramer further informed Cahan that he would send him a check with the UBS account

holdings to Favi’s address if he did not travel to Switzerland and withdraw the assets.

Kramer told Cahan that no one wants to touch anything to do with Americans and

advised him that he found one bank temporarily willing to take the funds in Favi’s

Swiss UBS account. Favi then traveled to Zurich, Switzerland and opened an account at

Neue Privat Bank.

      26.     On March 27, 2009, UBS notified Favi by letter that UBS will no longer

provide services to him and that he must transfer all positions held in his Swiss UBS

account to another financial institution. UBS further advised Favi to consult with a U.S.

Tax advisor to determine the tax consequences related to his account, including

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additional U.S. Tax filing or other disclosure obligations. UBS also asked Favi for

consent to provide account information to the IRS in connection with a John Doe

summons.

        27.   On July 31, 2009, UBS notified Favi by letter that it was issued a John Doe

summons seeking records related to U.S. taxpayers who had accounts with signature or

other authority with UBS in Switzerland. UBS further informed Favi of the IRS

voluntary disclosure program.

        28.   Favi’s Swiss UBS Account was terminated in 2009.

        29.   Favi’s income tax returns for 2005 through 2008 were prepared by

Matthew Ettinger (Ettinger). Ettinger sent out questionnaires to his clients that asked

whether clients own a foreign account. Favi filled out and returned the questionnaires.

Favi did not inform Ettinger that he had an interest in a foreign bank account for 2005-

2008.

        30.   Favi timely filed his 2005 federal income tax return. His federal income tax

return for 2006 was filed on September 2, 2015. His federal income tax return for 2007

was filed on July 30, 2009. His federal income tax return for 2008 was filed on May 5,

2010.

        31.   Favi attached a Schedule B to his federal income tax returns for 2005, 2007,

and 2008. On each Schedule B, he checked “No” in response to the question that asked

whether he had an interest in or authority over a foreign financial account.

        32.   Favi did not attach a Schedule B with his federal income tax return for

2006.

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      33.       In Favi’s federal income tax returns for 2005, 2007 and 2008, Favi included

domestic sourced interest and dividend earnings but omitted interest and dividend

earnings from the Swiss UBS Account.

      34.       Favi did not timely file FBARs for 2005 through 2008.

      35.       Favi’s failure to timely report his interest in the UBS Account for each of

the 2005 through 2008 calendar years was willful for the reasons including but not

limited to the reasons stated in paragraphs 9 – 34.

            Count I: Judgment for Civil Penalties Assessed Against Favi Cahan

      36.       On March 19, 2020, a delegate of the Secretary of the Treasury assessed

civil penalties against Favi Cahan under 31 U.S.C. § 5321(a)(5) in the amounts of:

$425,075 for 2005; $425,075 for 2006; $425,075 for 2007; and $100,000 for 2008, for a total

assessed amount of $1,375,225.

      37.       A delegate of the Secretary of the Treasury sent notice of the assessments

to Favi Cahan and demanded payment of the assessments on July 23, 2020.

      38.       Despite notice and demand, Favi Cahan has failed to fully pay the

penalties described in Paragraph 36, above.

      39.       Interest and late-payment penalties have accrued, and will continue to

accrue, on the penalties described in Paragraph 36, above, pursuant to 31 U.S.C. § 3717

until they are paid in full.

      40.       As of March 16, 2022, Favi Cahan is indebted to the United States with

respect to the penalties described in Paragraph 36, above, in the amount of




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$1,556,377.93, plus statutory additions that continue to accrue thereafter as provided by

law.

WHEREFORE, the United States respectfully asks that the Court:

       A.    Enter judgment in favor of the United States and against Favi Cahan, with

             respect to the civil penalty assessments described in Paragraph 36, above,

             in the amount of $1,556,377.93 as of March 16, 2022, plus statutory interest

             and other additions to tax accruing thereafter according to law until paid

             in full;

       B.    Award the United States its costs incurred in prosecuting this action; and

       C.    Such other and further relief as the Court deems just and proper.


Dated: March 17, 2022                           DAVID A. HUBBERT
                                                Deputy Assistant Attorney General

                                                /s/ Olga L. Tobin
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      DESIGNATION UNDER LOCAL RULE OF CIVIL PROCEDURE 101.1(f)

       In accordance with Local Rule of Civil Procedure 101.1(f), the undersigned

hereby designate the United States Attorney for the District of New Jersey to receive

service of all notices or papers in this action at the following address:


              Chief, Civil Division
              United States Attorney’s Office
              District of New Jersey
              970 Broad Street, Ste. 700
              Newark, New Jersey 07102
                                                  /s/ Olga L. Tobin
                                                  OLGA L. TOBIN
                                                  GOKCE T. YUREKLI
                                                  Trial Attorneys, Tax Division
                                                  U.S. Department of Justice




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                     LOCAL CIVIL RULE 11.2 CERTIFICATION

      Pursuant to Local Civil Rule 11.2, I certify that the matter in controversy alleged

in the foregoing Complaint is not the subject of any other action pending in any court,

or of any pending arbitration or administrative proceeding.


                                                /s/ Olga L. Tobin
                                                OLGA L. TOBIN
                                                GOKCE T. YUREKLI
                                                Trial Attorneys, Tax Division
                                                U.S. Department of Justice




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